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                                                                        USDCRevised:
                                                                             SDNY November 14, 2019
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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 10/20/2020
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QUANDELL HICKMAN,                                                 :
                                                                  :
                                                  Plaintiff,      :        1:20-cv-7205-GHW
                                                                  :
                              -v -                                :            ORDER
                                                                  :
THE CITY OF NEW YORK, DEPUTY                                      :
SHIVRAJ, DEPUTY MORALES, DEPUTY                                   :
CARTER, AND SECURITY C.O. MCNIEL,                                 :
                                                                  :
                                                  Defendants. :
                                                                  :
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GREGORY H. WOODS, District Judge:
         The Court has been informed that the Clerk of Court’s attempt to serve Plaintiff with the

Court’s September 18, 2020 order, Dkt. No. 9, was unsuccessful. The mailing sent to Plaintiff at the

address listed on the docket was returned to sender, without a forwarding address. The Court notes

that it is Plaintiff’s obligation to promptly submit a written notification to the Court if Plaintiff’s

address changes, and the Court may dismiss the action if Plaintiff fails to do so. See Dkt. No. 4.

         The Clerk of Court is directed to resend the Court’s order at Dkt. No. 9 to Plaintiff at the

address listed on the docket, along with a copy of this order.

         SO ORDERED.

 Dated: October 20, 2020                                      _____________________________________
                                                                       GREGORY H. WOODS
                                                                      United States District Judge
